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IN THE UNITED STATES DISTRICT COURT

 

FOR THE EASTERN DISTRICT OF VIRGINIA

 

 

 

 

 

 

 

 

 

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V_ ) Case No. 1:18-cv-1516
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THE UNINCoRPoRATED AssoclATloNs )
IDENTlFlED IN SCHEDULE A, §
Defendants. )
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MEMORANDUM OPINION

This matter comes before the Court on Plaintiffs Motion for Temporary Restraining Order
(TRO) (Dkt. 10). Plaintiff alleges that Defendants Plaintiff alleges that Defendants “are knowingly
and intentionally promoting, advertising, marketing, retailing, offering for sale, distributing, and
selling counterfeit products bearing the famous and distinctive [Juul] Trademarks.” Defendants
are unknown individuals identified in Schedule A (Dkt. 8) by their eBay or AliExpress seller ID
or store name.

Plaintiff requests that the Court issue a temporary restraining order freezing the assets of
each of the Defendants’ PayPal or Alipay accounts. The lack of identification for the Defendants
and the need to prevent Defendants from removing their assets beyond the jurisdiction of the Court
necessitated Plaintiff’ s ex parte motion.

For the reasons that follow and for good cause~shown, the Court GRANTS Plaintiff`s

motion. A separate order will issue.

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I. LEGAL STANDARD

A grant of temporary injunctive relief requires the movant to establish four factors: (1)
the likelihood of irreparable harm to the plaintiff if the TRO is denied; (2) the likelihood of harm
to the defendants if the TRO is granted; (3) the likelihood that the plaintiff will succeed on the
merits; and (4) the public interest. Wim‘er v. Natural Resources Defense Council, Inc., 555 U.S.
7, 20 (2008).

II. DISCUSSION
Plaintiff has established that all four Winter factors favor granting the TRO.
A. Likelihood of lrreparable Harm
In a trademark case in which the likelihood of success is clearly established, irreparable
harm follows as a matter of course. See Lone Star Steakhouse & Saloon, Inc. v. Alpha of
Virginia, Inc., 43 F.3d 922, 939 (4th Cir. 1995) (“[W]e recognize that irreparable injury regularly
follows from trademark infringement."’). As is explained below, there is a strong likelihood that
Plaintiff will succeed on the merits. ln addition, Plaintiff would be irreparably hanned absent a
TRO because Defendants would have the incentive and capacity to transfer their assets from any
accounts within the United States, depriving Plaintiff of the ability to obtain monetary relief.
This factor therefore favors granting the TRO.
B. Harm to Defendants

Defendants are unlikely to suffer any cognizable harm from the TRO as they would merely
be prevented from profiting from past infringement and moving their funds beyond the reach of
the Court. Cf Toolchex, Inc. v. Trainor, 634 F. Supp. 2d 586, 593 (E.D. Va. 2008) (holding that
any harm a defendant would suffer by being prevented from deliberately infringing a plaintiffs
trademark does not alter the balance of hardship analysis). This factor thus favors granting the

TRO.

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C. Likelihood of Success ome Merits

Plaintiff is likely to succeed on the merits of all four of its claims: (a) trademark
counterfeiting, (b) trademark infringement, (c) trademark dilution, and (d) false designation of
origin.

To prevail on their claim for trademark counterfeiting, Plaintiff must prove that the
Defendants (1) intentionally used a counterfeit mark in commerce; (2) knowing that the mark
was counterfeit; (3) in connection with the sale, offering for sale, or distribution of goods; and
(4) the use of the counterfeit mark was likely to confuse or deceive. 15 U.S.C. § 1114(1);
Match.Com, L.L.C. v. Fiesta Catering lnt ’l. Inc., 2013 WL 428056, at *6 (E.D. Va. Jan. 31,
2013). Plaintiff provided evidence that Defendants are selling products bearing counterfeit Jqu
Labs marks. See Compl. Exs. 2-3. Defendants likely know that their products are counterfeit as
they regularly falsely describe their products and price their products far below genuine JUUL
products’ prices. See United States v. Zayyad, 741 F.3d 452, 463 (4th Cir. 2014) (noting that
prices well below wholesale suggest awareness or deliberate indifference that goods were
counterfeit). Finally, there is a presumption of likelihood of confusion where a party sells
counterfeit goods. Polo Fashions, Inc. v. Craftex, Inc., 816 F.2d 145, 148 (4th Cir. 1987).
Plaintiff has thus shown likelihood of success on the merits for its trademark counterfeiting
claim.

'I`o prevail on a claim for trademark infringement, Plaintiff must prove that (1) Plaintiff
owns a valid and protectable trademark and (2) Defendants’ use of a colorable imitation of that
trademark is likely to confuse consumers. Synergistic Int ’l, LLC v. Korman, 470 F.3d 162, 170
(4th Cir. 2006). Plaintiff’s marksare well known and registered throughout the world. The

federal registration of Plaintiff’ s trademarks is at least prima facie evidence of the validity and

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protectability of Plaintiff s trademarks 15 U.S.C. § 1115. As noted above, there is also a
presumption of likelihood of confusion in this case due to Defendants’ sale of counterfeit goods.
Polo Fashions, 816 F.2d at 148. Plaintiff has thus shown a likelihood of success on the merits for
its trademark infringement claim.

To prevail on a claim of trademark dilution, Plaintiff must prove that (1) its marks are
famous, (2) its marks are distinctive, (3) Defendants used the marks in commerce, (4)
Defendants’ use began after the marks became famous, and (5) Defendants’ use is likely to cause
dilution of the distinctive quality of the mark. See 15 U.S.C. § 1125(c)(l). For the reasons noted
above and based on a review of the Complaint exhibits, Plaintiff has established a likelihood of
success in establishing elements one through four. Element five is established as a matter of law
by Defendants’ use of counterfeit marks. Moseley v. VSecret Catalogue, Inc., 537 U.S. 418, 434
(2003) (“[D]irect evidence of dilution such as consumer surveys will not be necessary if actual
dilution can reliably be proved through circumstantial evidence-the obvious case is one where
the junior and senior marks are identical.”). Plaintiff has thus shown a likelihood of success on
the merits for its trademark dilution claim.

Plaintiff has also shown a likelihood of success on the merits of its false designation of
origin claim because Plaintiff has established a likelihood of success on the merits on its
trademark infringement claim. See Two Pesos, Inc. v. Taco Cabana, ]nc., 505 U.S. 763, 780
(1992) (noting that the test for false designation of origin is the same as for trademark
infringement likelihood of confusion).

D. Public Interest
Finally, the public’s interest underlying the prohibition of trademark infringement is to

prevent consumer confusion and deception. See AMP, Inc. v. Foy, 540 F.2d 1181, 1185 (4th Cir.

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1976). Trademark infringement deceives consumers and there is a “public interest in making the
misconduct unprofitable.” Synergistic Int ’I, 470 F.3d at 175. Moreover, Defendants’ sales of
counterfeit nicotine products pose potentially serious health consequences for the public. This
factor therefore also favors granting the TRO.
III. CONCLUSION
F or the reasons stated above, and for good cause shown, the Court GRANTS Plaintiff`s
Motion for 'l`emporary Restraining Order (TRO) (Dkt. 10). A separate order will issue.

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December 1:1_, 2018 Liam O’Grady d
Alexandria, Virginia United States District Judge

